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SOUTHERN DISTRICT OF NEW YORK jUSDE SDNY

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UNITED STATES OF AMERICA : INDICTMEND:.
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JESUS WILFREDO ENCARNACION,
a/k/a “Jihadistsoldgier,”

a/k/a “Jihadinhear,” : 1 1 8
a/k/a “Jihadinheart,” 1 9 CRIM A“
a/k/a “Lionofthegood, ” ; OU

Defendant.

COUNT ONE

(Attempted Provision of Material Support and Resources to a
Designated Foreign Terrorist Organization)

The Grand Jury charges:

1. From at least in or about November 2018, up to
and including February 7, 2019, in the Southern District of New
York and elsewhere, JESUS WILFREDO ENCARNACION, a/k/a
“Jihadistsoldgier,” “Jihadinhear,” “Jihadinheart,”
“Lionofthegood,” the defendant, knowingly and intentionally
attempted to provide “material support or resources,” as that
term is defined in Title 18, United States Code, Section
2339A(b), namely, personnel (including himself) and services, to
a foreign terrorist organization, to wit, Lashkar e-Tayyiba
(“LeT”), which at all relevant times was designated by the

Secretary of State as a foreign terrorist organization, pursuant

JUDGE ABRAMS
 

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to Section 219 of the Immigration and Nationality Act (“INA”),
and is currently designated as such as of the date of the filing
of this Indictment, knowing that LeT was a designated terrorist
organization (as defined in Title 18, United States Code,
Section 2339B(g) (6)), that LeT engages and has engaged in
terrorist activity (as defined in Section 212(a) (3) (B) of the
INA), and that LeT engages and has engaged in terrorism (as
defined in section 140(d) (2) of the Foreign Relations
Authorization Act (“FRAA”), Fiscal Years 1988 and 1989).

(Title 18, United States Code, Sections 2339B and 2.)

COUNT TWO

(Conspiracy to Provide Material Support and Resources to a
Designated Foreign Terrorist Organization)

The Grand Jury further charges:

2. From at least in or about November 2018, up to
and including February 7, 2019, in the Southern District of New
York and elsewhere, JESUS WILFREDO ENCARNACION, a/k/a
“Jihadistsoldgier,” “Jihadinhear,” “Jihadinheart,”
“Lionofthegood,” the defendant, and others known and unknown,
knowingly and intentionally combined, conspired, confederated,
and agreed together and with each other to provide “material
support or resources,” as that term is defined in Title 18,
United States Code, Section 2339A(b), to a foreign terrorist

organization, to wit, LeT, which at all relevant times was
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designated by the Secretary of State as a foreign terrorist
organization pursuant to Section 219 of the INA, and is
currently designated as such as of the date of the filing of
this Indictment.

3. It was a part and an object of the conspiracy
that JESUS WILFREDO ENCARNACION, a/k/a “Jihadistsoldgier,”
“Jihadinhear,” “Jihadinheart,” “Lionofthegood,” the defendant,
and others known and unknown, would provide LeT with material
support and resources, namely personnel (including ENCARNACION)
and services, knowing that LeT was a designated terrorist
organization (as defined in Title 18, United States Code,
Section 2339B(g) (6)), that LeT engages and has engaged in
terrorist activity (as defined in section 212(a) (3) (B) of the
INA), and that LeT engages and has engaged in terrorism (as
defined in section 140(d)(2) of the FRAA), in violation of Title
18, United States Code, Section 2339B.

Overt Acts

4. In furtherance of the conspiracy and to effect
the illegal object thereof, JESUS WILFREDO ENCARNACION, a/k/a
“Jihadistsoldgier,” “Jihadinhear,” “Jihadinheart,"
“Lionofthegood,” the defendant, and his co-conspirators,

committed the overt acts set forth below, among others:
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a. In or about November 2018, ENCARNACION
communicated with a co-conspirator located in another district
in the United States, who is not named as a defendant herein
(“CC-1”), about ENCARNACION’s desire to fight on behalf of
terrorist organizations located outside the United States.

b. In or about November 2018, CC-1 directed
ENCARNACION to contact an individual with whom CC-1 had
previously communicated, who was in fact and unbeknownst to CC-
1, an FBI undercover employee (“UC-1"). CC-1 indicated that UC-
1 would be able to help ENCARNACION travel to Pakistan to join
LeT and receive training to commit terrorist acts on behalf of
LeT.

c. Between in or about November 2018 and
February 7, 2019, while located in the Southern District of New
York and elsewhere, ENCARNACION communicated with UC-1 to
arrange travel to Pakistan to join LeT.

d. On or about November 9, 2018, while located
in the Southern District of New York, ENCARNACION wrote to UC-1,
“you guys are against India. I read up on ya. You are beefing
with India over Muslim land. . . . I fucking hate Hindus.

They can go to hell and I’m going to help you.”

e. On or about November 10, 2018, ENCARNACION
wrote to UC-1, “Will I live in Pakistan. I want to fight.

I want to execute. I want to behead.”

 
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£. On or about February 7, 2019, ENCARNACION
attempted to board an international flight leaving New York City
in order to travel to Pakistan to join LeT.
(Title 18, United States Code, Section 2339B.)

FORFEITURE ALLEGATION

 

5. As a result of planning and perpetrating Federal
crimes of terrorism against the United States, as defined in
Title 18, United States Code, Section 2332b(g) (5), as alleged in
Counts One and Two of this Indictment, JESUS WILFREDO
ENCARNACION, a/k/a “Jihadistsoldgier,” “Jihadinhear,”
“Jihadinheart,” “Lionofthegood,” the defendant, shall forfeit to
the United States, pursuant to Title 18, United States Code,
Section 981(a)(1)(G) and Title 28, United States Code, Section
2461(c), any and all assets, foreign and domestic, of the
defendant; any and all assets, foreign and domestic, affording
the defendant a source of influence over any entity or
organization engaged in planning or perpetrating said offenses;
any and all assets, foreign and domestic, acquired or maintained
with the intent and for the purpose of supporting, planning,
conducting or concealing said offenses; any and all assets,
foreign and domestic, derived from, involved in, or used or
intended to be used to commit said offenses, including but not
limited to a sum of money in United States currency representing

the total amount of the defendant’s assets.
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Substitute Assets Provision

 

6. If any of the above-described forfeitable

property, as a result of any act or omission of JESUS WILFREDO

ENCARNACION, a/k/a “Jihadistsoldgier,” “Jihadinhear,”
“Jihadinheart,” “Lionofthegood,” the defendant:

a. cannot be located upon the exercise of due
diligence;

b. has been transferred or sold to, or

deposited with, a third person;

Cc. has been placed beyond the jurisdiction of
the Court;

d. has been substantially diminished in value;
or

e. has been commingled with other property

which cannot be subdivided without difficulty,
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property
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of the defendant up to the value of the above forfeitable

property.

(Title 18,

United States Code,

Title 21, United States Code, Se
Title 28, United States Code, S$

by Vile

Section 981;
ction 853; and
ection 2461.)

 

 

 

FOREPERSON

Cedfrn S. Beemer.
GEOFFEEY BERMAN
United States Attorney
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
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JESUS WILFREDO ENCARNACION,
a/k/a “Jihadistsoldgier,” “Jihadinhear,”
“Jihadinheart,” “Lionofthegood,”

Defendant.

 

INDICTMENT
19 Cr.

(18 U.S.C. §§ 2339B & 2)

GEOFFREY S. BERMAN
United States Attorney.

 

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